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IN THE U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA

Maria Rosibel Nolasco *

Plaintiff *
v. * Case No.: 1:17-cv-01407-LO-TCB
Huong Binh Foods, Inc., et al. *
Defendants *
* * * * * * *
ORDER

Pending before the Court is the Parties’ Jomt Motion for Approval of FLSA
Settlement (“Joint Motion”). After consideration and review of the Parties’ Joint Motion
and the accompanying Settlement Agreement, it is hereby:

ORDERED, that the Settlement Agreement is APPROVED as a fair and
reasonable resolution of the parties’ Fair Labor Standards Act (“FLSA”) dispute;

ORDERED, that the Parties’ Joint Motion is GRANTED;

FURTHER ORDERED, Plaintiffs claims shall be DISMISSED with prejudice;

and that the Clerk of Court will CLOSE this case.

Date:

 

Hon. Liam O’Grady
U.S. District Court Judge

 
